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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,              )
                                       )
               Plaintiff,              )       ORDER
                                       )
       vs.                             )
                                       )       Case No. 1:21-cr-235
Sibashton Tre Holybear,                )
                                       )
               Defendant.              )


       Defendant is in Marshals Service custody at the James River Correctional Center in

Jamestown, North Dakota. On September 6, 2023, he filed a motion requesting to be released to

either the North Dakota State Hospital (“State Hospital”) in Jamestown or the Prairie Recovery

Center (“Prairie Recovery”) in Raleigh, North Dakota, for substance abuse treatment. (Doc. No.

243). He advised that the State Hospital had space immediately available for him and that Prairie

Recovery anticipated that it would have space available for him in late September. He further

advised that his admission to the State Hospital was contingent upon his successful completion of

a review by the South Central Human Service Center, which had in turn advised that it would only

complete its review and place him at the State Hospital if it had assurances that he would be staying

in the Jamestown area for treatment.

       On September 8, 2023, the court issued an order in which it initially stated that, while the

placement of Defendant at Prairie Recovery was not an immediately available option, it would defer

ruling on Defendant’s motion until the South Central Human Service Center had completed its

review and provided the results of its review to the Pretrial Services Office. (Doc. No. 247). Next,

it directed Defendant to execute releases as necessary so that the review could proceed and


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Defendant’s coverage for placement at the State Hospital could be determined. Finally, it noted that

Defendant could file the appropriate motion should he need to be temporarily released in order for

the South Central Human Service Center to conduct its review.

       Approximately fifteen days have now passed since the court issued its order addressing

Defendant’s motion. Pretrial Services has yet to receive any information regarding the South

Central Human Service Center’s review of Defendant. If Defendant needs to appear in person at

the South Central Human Service Center in order for it to conduct its review, the court notes that

Defendant has yet to file a motion requesting a furlough.

       Defendant shall have until October 2, 2023, to supplement his motion with information

regarding the South Central Human Service Center’s review and/or dates certain on which Prairie

Recovery will have bed space for him. In the interim, if Defendant needs to be released so that the

South Central Human Service Center can conduct its review, he should file the appropriate motion.

       IT IS SO ORDERED.

       Dated this 25th day of September, 2023.

                                                     /s/ Clare R. Hochhalter
                                                     Clare R. Hochhalter, Magistrate Judge
                                                     United States District Court




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